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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                    )
 MICHAEL MEYERS, et al.,                            )
                                                    )
        Plaintiffs,                                 )
                                                    )    Lead Case No. 1:23-cv-12513-LTS
 v.                                                 )
                                                    )
 BHI ENERGY SERVICES, LLC, et al.,                  )
                                                    )
        Defendants.
                                                    )

                     JOINT STIPULATION TO AMEND STAY OF
                 CASE DEADLINES PENDING UPCOMING MEDIATION

       Plaintiffs Michael Meyers, Daniel Muske, Gary Kaplan, Kim Wever, Joshua Pyfrom,

Richard Deschamps, Lashawntae Washington, and Ted Melton (collectively, “Plaintiffs”) and

Defendants BHI Energy Services, LLC and BHI Energy I Specialty Services, LLC (collectively,

“Defendants”) hereby agree and stipulate to amend the current stay of all case deadlines through

a mediation rescheduled for June 13, 2024. In support of this Joint Stipulation, the parties state

as follows:

       1.      On October 24, 2023, Plaintiff Richard Rose filed a Class Action Complaint against

Defendants (the “Rose Complaint”). Doc. No. 1.

       2.      On October 26, 2023, Defendants were served with a Summons and copy of the

Rose Complaint. Doc. No. 9.

       3.      Five substantially similar putative class action lawsuits were subsequently filed

against Defendants in this District. See Pyfrom v. BHI Energy Services, LLC, et al., No. 1:23-cv-

12532-RWZ (D. Mass. filed Oct. 25, 2023); Deschamps v. BHI Energy Services, LLC, et al., No.

1:23-cv-12555-RGS (D. Mass. filed Oct. 27, 2023); Washington v. BHI Energy Services, LLC, et

al., No. 1:23-cv-12577-LTS (D. Mass. filed Oct. 27, 2023); Kaplan, et al. v. BHI Energy Services,


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LLC, et al., No. 1:23-cv-12589-LTS (D. Mass. filed Oct. 30, 2023); Wever, et al. v. BHI Energy

Services, LLC, et al., No. 1:23-cv-12626 (D. Mass. filed Oct. 31, 2023).

       4.      Following a motion by Plaintiffs, the Court consolidated the related actions,

designated the Rose action as the “Lead Case,” and appointed Interim Class Counsel and Interim

Liaison Counsel. Doc. No. 16.

       5.      Thereafter, the Court entered an Order setting an initial case schedule for the

consolidated action, which provided deadlines for (a) Plaintiffs to file a Consolidated Class Action

Complaint, (b) Defendants to respond to the Consolidated Class Action Complaint, and (c) for

briefing on any motions to dismiss or similar motions filed by Defendants in response to the

Consolidated Class Action Complaint. Doc. No. 23.

       6.      Pursuant to the case schedule, Plaintiffs filed a Consolidated Class Action

Complaint on December 23, 2023. Doc. No. 24.

       7.      On January 29, 2024, Defendants filed a Motion to Dismiss Plaintiffs’ Consolidated

Class Action Complaint (Doc. No. 26) and a Motion to Strike Class Action Allegations from

Plaintiffs’ Consolidated Class Action Complaint (Doc. No. 29).

       8.      During the Local Rule 7.1(a)(2) meet and confer preceding the filing of Defendants’

motions, the parties discussed the possibility of settlement talks and the exchange of informal

discovery to facilitate a potential early resolution of the case.

       9.      The parties originally scheduled an in-person formal mediation for May 7, 2024,

which was to take place in Chicago, Illinois, before JAMS mediator, the Hon. Wayne R. Andersen.

       10.     On February 9, 2024, the parties filed a Joint Stipulation to Stay Case Deadlines

Pending Upcoming Mediation, seeking to stay all case deadlines through the then-scheduled May

7, 2024, mediation. Doc. No. 31.




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       11.     On February 12, 2024, the Court granted the parties’ Joint Stipulation, stayed all

case deadlines pending that May 7, 2024, mediation, and ordered the parties to file a joint status

report and update on their mediation efforts by May 21, 2024. Doc. No. 32.

       12.     On February 14, 2024, Judge Andersen’s office informed the parties that Judge

Andersen was no longer available for an in-person mediation on May 7, 2024. Accordingly, the

parties immediately conferred to discuss rescheduling their mediation.

       13.     The parties have now scheduled an in-person formal mediation for June 13, 2024,

which is to take place in Philadelphia, Pennsylvania, with mediator Bennett G. Picker, Esq., of the

law firm Stradley Ronon Stevens & Young, LLP.

       14.     To conserve the resources of the Court and the parties, the parties agree and jointly

request that the stay of all case deadlines, including Plaintiffs’ right to amend their complaint, be

extended to allow time for the parties to exchange information and participate in the June 13, 2024,

mediation session.

       15.     Because cases of this complexity often are not resolved within a single day of

mediation, the parties agree and jointly propose that the case be stayed pending their submission

of a joint report on the status of their mediation efforts, to be submitted by June 27, 2024, 14 days

after the mediation takes place.

       16.     In the event the mediation is unsuccessful in resolving the consolidated actions, the

parties agree to submit a proposed case schedule with their June 27, 2024 joint status report, which

will set forth relevant deadlines, including deadlines to complete briefing on Defendants’ Motion

to Dismiss (Doc. No. 26) and Motion to Strike Class Action Allegations (Doc. No. 29) (i.e., for

Plaintiffs to file responses in opposition to the motions and for Defendants to file replies in support

of the motions) and/or, as applicable, deadlines for Plaintiffs to file an Amended Consolidated




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Class Action Complaint and for Defendants to respond to any such Amended Consolidated Class

Action Complaint.

       17.    WHEREFORE, the parties respectfully request that the Court endorse and

approve this Joint Stipulation by extending the stay of all litigation deadlines through June 27,

2024, and entering the following schedule:

              (a)     All deadlines currently pending in these Consolidated Actions shall be
                      stayed pending the parties’ scheduled mediation;

              (b)     The parties shall file a joint status report and update on their mediation
                      efforts by June 27, 2024; and

              (c)     In the event the mediation is unsuccessful in resolving the claims, the parties
                      shall submit an agreed-upon proposed case schedule, which shall include
                      deadlines: (1) for the completion of the briefing on Defendants’ Motion to
                      Dismiss the Consolidated Class Action Complaint and Motion to Strike
                      Class Allegations from Plaintiffs’ Consolidated Class Action Complaint;
                      and/or, if applicable, (2) for Plaintiffs to file an Amended Consolidated
                      Class Action Complaint and for Defendants’ to respond to any such
                      Amended Consolidated Class Action Complaint.



SO ORDERED:

Dated: _________________                                     ______________________________
                                                             Hon. Leo T. Sorokin
                                                             United States District Judge




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Respectfully submitted,                        Respectfully submitted,
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By their attorneys,                            BHI ENERGY I SPECIALTY SERVICES,
                                               LLC

                                               By their attorneys,


/s/ A. Brooke Murphy                           /s/ Robert W. Sparkes, III
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                          LOCAL RULE 7.1(a)(2) CERTIFICATION

        The undersigned hereby certifies that counsel for the Parties have conferred regarding the
issues presented in this joint stipulation and all Parties have assented to the relief requested herein.




                                                       /s/ Robert W. Sparkes, III
                                                       Robert W. Sparkes, III




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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on February 21, 2024.




                                                    /s/ Robert W. Sparkes, III
                                                    Robert W. Sparkes, III




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